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                                         U.S. Department of Justice
[Type text]
                                                     United States Attorney
                                                     Southern District of New York
                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007



                                                     May 21, 2019

BY ECF
The Honorable William H. Pauley III
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     United States v. Michael Cohen, 18 Cr. 602 (WHP)

Dear Judge Pauley:

        On February 7, 2019, the Court issued an opinion and order (the “Order”), granting in part
and denying in part a request by several media organizations to unseal certain search warrant
materials in the above-captioned case. Relevant here, the Court authorized redaction of certain
portions of the materials in order to protect an ongoing investigation, and directed the Government
to provide a status update on the need for continued redaction by May 15, 2019. On May 15, 2019,
the Government submitted a sealed, ex parte letter, setting forth the need to continue redaction of
the materials in question. For the reasons set forth in that submission, the Government respectfully
requests that the Court authorize the continued redaction for at least 60 days, at which time the
Government will provide another status update.

                                                 Respectfully submitted,

                                                 AUDREY STRAUSS
                                                 Attorney for the United States,
                                                 Acting Under Authority Conferred by
                                                 28 U.S.C. § 515


                                              By: __________________________
                                                 Thomas McKay / Nicolas Roos
                                                 Assistant United States Attorneys
                                                 (212) 637-2200

cc: Counsel of Record (by ECF)
